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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

William Edgar Lewis Jr, aka Lewdo

Monique Naté Holmes, aka MoBetta
CIVIL CASE NO:

(to be supplied by Clerk
of the District Court)

(Enter above the full name of
plaintiff in this action)

¥,
York County Sheriff Richard P. Keuerleber,

York County Sheriff's Deputy #12-347,

York County Sheriff's Deputy #12-334,

York County Sheriff's Deputy #12-235, et al

(Enter above the full name of
the defendant(s) in this action)

COMPLAINT

William E. Lewis, Jr & Monique N. Holmes
1. The plaintiff a citizen of

York
the County of State of

132 Chesapeake Estates, Thomasville PA 17364

Pennsylvania, residing at

42 U.S.C. § 1983, 18 U.S.C. §§ 241, 242
wishes to file a complaint under s §§

42 U.S.C. § 1983, 18 U.S.C. §§ 241, 242

(give Title No. etc.)

_ York County Sheriff Richard P. Keuerleber, York County Sheriff's Daputy #12-347,
2, The defendant is

York County Sheriff's Deputy 412-334, York County Sheriff's Deputy #1#2-235, York County Sheriff's Office, et al

3. STATEMENT OF CLAIM: (State below the facts of your case. If you have paper
exhibits that give further information of your case, attach them to this completed form. Use as
much space as you need. Attach extra sheet(s) if necessary)

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VERIFIED COMPLAINT FOR:
3, (CONTINUED)

4, Violation of Civil Rights under 42 S.C. § 1983 jor deprivation of constitutional rights, Including 1st, 2nd, 4th, Sth, 6th, th, Sth, 10th, 13th & 141h Amendments.

2. Conspiracy to violate civil rights under 18 U.S.C. § 244 and 242 for actions aimed at interfering with Plaintiffs’ rights.

3, Fraudulent activity under 18 U.S.C. §§ 1001, 1341, 1343, and 1621 for Faise Statements and Falsification of Records.

Amore detailed Statement of Claims is attached in the full Complaint.

Pjaintiffs respectfully request the following relief:
4, WHEREFORE, plaintiff prays that P yes 9

1.Maximum compensatory damages par Incidenl, per Plaintiff, pursuant to 42 U.S.C. § 1923, against each Defendant individually.

2. Punitive damages per incident, per Plaintiff, against each Defendant individually.

3. Injunctive relief as appropriate.

4. Special damages per incident, per Plaintiff, against each Defendant individuaily.

5. Any other relief the Court deems just and proper.

A full Prayer for Relief is attached as a separate document.

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~ASignatyte of Plaintiff) [) Thomasville, PA 17364
Saye
William Edgar Lewis Jr / Monique Naté Holmes (Address of Plaintiff)
(Printed Name of Plaintiff) (717) 714 - 1174 / (717) 495 - 0260

(Phone Number of Plaintiff)
